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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF NEW YORK


DOUGLAS J. HORN,                                          Case No. 15-CV-701-JWF

                        Plaintiff,
                                                          DEFENDANTS MMI AND RDH’S
       -vs-                                               OBJECTIONS TO PLAINTIFF’S
                                                          REQUESTS TO CHARGE
MEDICAL MARIJUANA, INC., et al.

                        Defendants.


               Defendants, Medical Marijuana Inc. and Red Dice Holdings, LLC (“MMI/RDH”), by

their undersigned counsel, submit the following objections to “Plaintiff’s Substantive Jury

Instructions” dated November 29, 2021 (Docket # 230).

               MMI/RDH adopt and incorporate Points II and III made on behalf of co-defendant,

Dixie Holdings, LLC (“Dixie”) in opposition to the plaintiff’s request to charge (Docket # 187 refiled

as Docket # 214-3).

               MMI/RDH does not join Dixie in requesting a charge on apportionment of fault (Point

IV).

DATED:         Buffalo, New York
               November 29, 2021
                                                          s/Roy A. Mura

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